Case 2:Ol-cr-20043-.]PI\/| Document 19 Filed 05/27/05 Page 1 of 2 Page|D 24

iN THE UNITED sTATEs DISTRICT coURT FfF-ED f'-‘-`:"

  

, ss
FoR THE wEeTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 955-§§ 37 p;-»,; 2: 95

 

UNITED STATES OF AMERICA

 

Plaintiff,

V.

fEK/.A ~1)); a #ER»D

criminal NOO_L-Zaab/! Ml

(90~Day Continuance)

 

 

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Defendant(s).

 

REPORT ON FUGITIVE STATUS AND RESETTING

 

As indicated by the signature of counsel for the United
States, through its Assistant United Stetes Attorney, this case
remains en active case and there are continuing efforts to locate
the above-referenced fugitive defendent(s). A follow~up report
on efforts to bring the above-referenced fugitive defendant(s)
before the Court will be made on Fridev, August 26, 2005, at
10:30 a.m.

so ORDERED this 27th day of May, 2005.

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Jo' PHIPP's MCCALLA
UN TED STATES DISTRICT JUDGE

//)M,P,L

A@étan( United etates Attorney

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ISTRIC COURT - WESRNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:0]-CR-20043 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Jon McCalla
US DISTRICT COURT

